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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


CRAIGVILLE TELEPHONE CO. d/b/a                   )
ADAMSWELLS; and CONSOLIDATED                     )
TELEPHONE COMPANY d/b/a CTC                      )
                                                 )
                Plaintiffs,                      )   No. 1:19-cv-07190
                                                 )
         v.                                      )   Hon. Lindsay C. Jenkins
                                                 )   Magistrate Judge Jeffrey T. Gilbert
T-MOBILE USA, INC.                               )
                                                 )
                                                 )
                Defendant.                       )

                                   JOINT STATUS REPORT

         Plaintiffs, Craigville Telephone Co. d/b/a AdamsWells (“AdamsWells”) and Consolidated

Telephone Company d/b/a CTC (“CTC”), on behalf of themselves and a class of similarly situated

companies (“Plaintiffs”), and Defendant T-Mobile USA, Inc. (“TMUS”), pursuant to ECF 506,

the Court’s April 18, 2024 Minute Order submit the following Joint Status Report regarding their

progress with discovery.

I.       Current Scheduling Deadlines and Fact Discovery Deadline.

         The current deadlines are as follows:

                        Deadline Category                                Current Deadline
 Close of Fact Discovery                                          May 30, 2024
 Plaintiffs’ Expert Witness Disclosure (including Rule            July 15, 2024
 26(a)(2) disclosures)

 Defendant’s Expert Witness Disclosure (including Rule            August 29, 2024
 26(a)(2) disclosures)

 Rebuttal Expert Reports                                          October 14, 2024
 Plaintiffs’ and Defendant’s Experts’ Depositions, including No later than 45 days after
 any Rule 26(a)(2)(C) witnesses                              service of all expert reports,
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                                                                          including rebuttal expert
                                                                          reports.
    Class Certification Motion
    Plaintiffs’ Motion and Supporting Brief                               December 30, 2024, or 30
                                                                          days following the close of
                                                                          expert discovery, whichever
                                                                          is later
    Defendant’s Brief in Opposition                                       No later than 60 days after
                                                                          the Plaintiffs’ brief
    Plaintiffs’ Reply Brief                                               No later than 30 days after
                                                                          the Defendant files its
                                                                          opposition
    Motion for Summary Judgment
    Any Motion for Summary Judgment                                       No later than 120 days after
                                                                          the ruling on class
                                                                          certification
    Any Opposition to a Motion for Summary Judgment                       30 days after the initiating
                                                                          motion is filed
    Any Reply in Support of a Motion for Summary                          21 days after the opposition is
    Judgment in Response to an Opposition to Summary                      filed
    Judgment

          On February 24, 2024, the parties submitted to the Special Master a joint communication

presenting “an agreed path towards completion of fact discovery and remaining depositions”

taking into account that there were outstanding motions the Special Master would not likely be

able to resolve in time for the parties to complete fact discovery before March 18, 2024, the prior

deadline for close of fact discovery. See Ex. 1, Feb. 24, 2024 Joint Email Communication

(“Discovery Agreement”). As stated in the Discovery Agreement, the parties agreed that, absent

good cause, no additional written discovery may be served and no depositions may be taken out

of time that had not already been noticed or disclosed by the parties to one another, id.1 The parties


1
  The one exception being the limited depositions Magistrate Judge Gilbert ordered could be taken after the
close of fact discovery so long as they are completed no later than thirty days before the final pretrial order
is due. ECF 507.
                                                      2
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also “reserved their rights to raise any new discovery disputes which may arise out of any ongoing

discovery.” Ex. 1.

       A. Plaintiffs’ Statement Regarding Current Fact Discovery Deadline:

       From Plaintiffs’ perspective, the only potential hindrance to completing the discovery

remaining per the Discovery Agreement is the Plaintiffs’ unresolved Motion to Compel the Rule

30(b)(6) Deposition of former party, Inteliquent, Inc. (“Inteliquent”), and depositions of several

Inteliquent fact witnesses. As set forth in the parties’ Joint Motion to Amend the Scheduling Order

(ECF 500), Plaintiffs have sought a Rule 30(b)(6) deposition of Inteliquent since October 30, 2023.

Plaintiffs also served deposition subpoenas on Inteliquent’s counsel for Inteliquent employees,

Tim Schneberger and Mary Hochheimer, and Inteliquent’s former Chief Operating Officer, John

Bullock. Inteliquent did not serve formal objections to these deposition subpoenas, nor did

Inteliquent file a motion for protective order. Plaintiffs and Inteliquent’s counsel have engaged in

numerous meet and confers between November 16, 2023 and March 19, 2024, regarding these

Inteliquent deposition subpoenas. Plaintiffs’ Motion to Compel is fully briefed and ripe for ruling

by the Special Master, who indicated at an April 16, 2024 hearing that she will take up this motion

next. As previously stated in the parties January 18, 2024 Joint Status Report (ECF 492-1), until

Plaintiffs’ Motion to Compel Rule 30(b)(6) Testimony from Inteliquent is resolved, Plaintiffs will

not know how many depositions will be necessary to cover the scope of the Inteliquent Rule

30(b)(6) Topics, which witnesses Inteliquent is designating or their availabilities to schedule the

depositions. Therefore, Plaintiffs cannot confirm whether these depositions, once ordered by the

Special Master, can be completed by May 30th.

       Plaintiffs learned in the process of exchanging drafts of this Joint Status Report that TMUS

may seek additional discovery, including depositions, regarding Plaintiffs’ forthcoming Amended


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Damages Disclosure,2 which was not previously disclosed or identified by TMUS when the

parties’ negotiated the Discovery Agreement. The parties spent significant time, extending into a

weekend, negotiating the Discovery Agreement, and in those negotiations TMUS did not indicate

any desire to take further depositions on Plaintiffs’ damages despite the fact that its Motion to

Compel Supplemental Damages Disclosure was pending and had been pending for several months.

Plaintiffs object to TMUS’s change in position, and generally object to TMUS seeking new

discovery inconsistent with the Discovery Agreement. Plaintiffs also disagree with TMUS’s

characterization of damages discovery in Section I.B. below.

          B. TMUS’s Statement Regarding Current Fact Discovery Deadline:

          As described in Section III below, there are eight motions that remain pending before the

Special Master. Of these motions, the four brought by TMUS seek to compel Plaintiffs to provide

Rule 30(b)(6) deposition testimony, discovery responses, and additional deposition time. The

amount of time that will be needed to complete the discovery TMUS seeks will depend on the

resolution of TMUS’s motions.

          Recently, on April 16, 2024, the Special Master granted TMUS’s Motion to Compel 26(a)

Damages Information (ECF 432, 433), which had been pending since the end of June 2023. See

ECF 505. The Special Master ordered Plaintiffs to amend their Initial Disclosures to include a

description of their damages methodology, which Plaintiffs agreed to do by May 3, with the

understanding that they may need to update the description of their methodology after they depose

Inteliquent’s witness(es). Consistent with the Discovery Agreement, TMUS anticipates it may

have “good cause” to take further fact discovery concerning Plaintiffs’ damages methodology after

it is disclosed on May 3, including potential depositions. TMUS anticipates the “good cause”



2
    See infra Section I.B.
                                                  4
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standard can be met because Plaintiffs had not provided their methodology at the time the

Discovery Agreement was negotiated, and they still have not, therefore TMUS did not know, and

still does not know, what, if any, additional discovery it may seek to conduct after Plaintiffs

provide their amended Initial Disclosures this Friday. Moreover, the possibility of additional

discovery regarding damages has long been known to Plaintiffs. TMUS repeatedly made clear in

its briefing on its Motion to Compel 26(a) Damages Information that it was seeking Plaintiffs’

damages methodology so that it could take fact discovery concerning their damages claims (see,

e.g., ECF 433 at 1-2, 6, 7, 10; ECF 461 at 1-3, 4, 8). This has always been TMUS’s position.

TMUS does not agree with Plaintiffs’ characterization of the discussions leading up to the

Discovery Agreement, but what was and wasn’t discussed is irrelevant given that the terms of the

Discovery Agreement are clear.

       TMUS also has raised issues with Plaintiffs about their responses and objections to

TMUS’s interrogatories. To the extent the parties are not able to resolve these issues through the

meet and confer process, TMUS may need to move to compel responses to its interrogatories.

       In light of the foregoing, TMUS cannot confirm it is on track to complete fact discovery

by the May 30 deadline. That said, it is TMUS’s sincere hope that the parties will be able to do so

and, if they are unable to, that fact discovery be completed as expeditiously as possible.

 II.   Fact Discovery Completed to Date and Remaining Discovery.

       A. Discovery Completed to Date:

       Over the past three years, the parties have exchanged the following written discovery:

   •   Plaintiffs’ responses and objections to TMUS’s First, Second, Third, Fourth and Fifth Sets
       of Requests for Production of Documents (“RFPs”);
   •   Plaintiffs’ responses and objections to TMUS’s First Set of Interrogatories;
   •   Plaintiff Craigville’s responses and objections to TMUS’s Second and Third Set of
       Interrogatories;


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   •   Plaintiff CTC’s responses and objections to TMUS’s Second, Third, and Fourth Sets of
       Interrogatories;
   •   Plaintiffs’ responses and objections to then-Defendant Inteliquent’s First Set of RFPs;
   •   Plaintiffs’ responses and objections to then-Defendant Inteliquent’s First Set of
       Interrogatories;
   •   Plaintiffs’ responses and objections to TMUS’s First Set of Requests for Admission;
   •   TMUS’s responses and objections to Plaintiffs’ First, Second, Third, and Fourth Sets of
       RFPs;
   •   TMUS’s responses and objections to Plaintiffs’ First Set of Requests for Admission;
   •   TMUS’s responses and objections to Plaintiffs’ First and Second Sets of Interrogatories;
       and
   •   Initial Disclosures. Plaintiffs served their Fourth Amended Initial Disclosures on February
       20, 2024. TMUS served its Fourth Amended Initial Disclosures on December 15, 2023.
       The parties have exchanged document productions and produced privilege logs, which are

the subject of ongoing negotiations. In addition, at least nine non-parties also produced documents,

including Inteliquent’s production of terabytes of call detail records (“CDRs”).

       The parties have taken the following depositions:

   •   Plaintiffs’ records custodian depositions of TMUS’s Rule 30(b)(6) witness Ellen Blanchard
       and Inteliquent’s 30(b)(6) witness Brett Scorza;
   •   Plaintiffs’ and TMUS’s deposition of Inteliquent’s former CEO Fritz Hendricks in his
       individual capacity;
   •   Plaintiffs’ depositions of TMUS employees Indra Chalk, Dinko Dinkov, Kathleen Foster,
       William Rowe, Sukhi Nehra, and Satish Pachalla in their individual capacities;
   •   Plaintiffs’ depositions of TMUS’s Rule 30(b)(6) witnesses Kathleen Foster, William
       Rowe, Sukhi Nehra, and Thomas Johnson;
   •   TMUS’s records custodian depositions of Craigville Rule 30(b)(6) witness Lee VonGunten
       and CTC Rule 30(b)(6) witness Ryan Rosenwald;
   •   TMUS’s depositions of Craigville Rule 30(b)(6) witnesses Kurt Oliver and Lee
       VonGunten on TMUS Rule 30(b)(6) Topics 1-7, 8(a), 9-16;
   •   TMUS’s depositions of CTC Rule 30(b)(6) witnesses Kristi Westbrock, Greg Springer,
       and Ryan Rosenwald on TMUS Rule 30(b)(6) Topics 1-8, 9(a), 10-17;
   •   TMUS’s deposition of CTC’s former CEO Kevin Larson in his individual capacity;
   •   Plaintiffs’ deposition of Ericsson, Inc.’s Rule 30(b)(6) witness Ivanco Nikolovski;
   •   TMUS’s deposition of Lakeland Communications employee Derek Ayd in his individual
       capacity;
   •   TMUS’s deposition of Peoples Telecommunications, LLC employee Jennifer Leach in her
       individual capacity; and
   •   TMUS’s deposition of CTC’s former CFO Mark Roach in his individual capacity.
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        B. Remaining Discovery to be Completed.
        In addition to the Inteliquent depositions, the parties have scheduled depositions for the

remaining TMUS fact witnesses and Rule 30(b)(6) designees as follows:

           •   Satish Pachalla on April 30, 2024;

           •   Manoj Kumar on May 8, 2024;

           •   Rusty Huntsman and William Rowe on May 15, 2024; and

           •   Tom Cast (not yet scheduled; awaiting dates of availability).

Depending on the outcome of the Special Master’s rulings on the pending and potentially

forthcoming3 motions before her, and for good cause shown, there could be follow up discovery,

but the parties do not anticipate any further depositions other than those identified in the Discovery

Agreement and described above.

III.    Summary of Unresolved Matters Pending Before the Special Master.

        There are currently eight pending Motions before the Special Master. At the Special

Master’s request, on March 4, 2024 the parties submitted lists and positions with respect to the

order of priorities for outstanding motions, including those not yet briefed. See Ex. 2, Mar. 4, 2024

Email and attached Plaintiffs’ Proposed Priority Listing of Pending Motions; Ex. 3, Mar. 4, 2024

TMUS Email and attached Proposed Priority Listing of Pending Motions. As of the date of this

Joint Status Report, all Motions listed in Exs. 2 and 3 remain pending before the Special Master

(or are potentially forthcoming), with the exception of Plaintiffs’ Motion to Restore Rule 30(b)(6)

Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witnesses on Matters 12(a) and

41, and TMUS’s Motion to Compel Rule 26(a) Damages Information. On March 18, 2024, TMUS



3
 The parties are engaging in ongoing meet and confers and at present do not know whether there will be a
need to submit any new discovery motions, including the “forthcoming” motions listed in Exs. 2 and 3.
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withdrew its Opposition to the Plaintiffs’ Motion to Restore Rule 30(b)(6) Time and agreed to

restore all time sought by Plaintiffs’ Motion. See Ex. 4, Mar. 18, 2024 TMUS Email to Special

Master. On April 16, 2024, the Special Master held a video conference hearing on TMUS’s

Motion to Compel Supplemental Rule 26(a)(1) Damages Disclosure, and Plaintiffs will submit

their Fifth Amended Initial Disclosures on or before May 3, 2024, in accordance with the Special

Master’s ruling and guidance from the April 16 hearing.




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Submitted on this 29th day of April, 2024.


                                             /s/ David T.B. Audley
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 29th day of April, 2024, I served the foregoing Joint Status

Report via the ECF system on parties that have consented to the same in accordance with

applicable Federal Rules of Civil Procedure and the Local Rules of the U.S. District Court for the

Northern District of Illinois.



                                              By:     /s/ David T.B. Audley




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